     Case 3:21-cv-00259-DCG-JES-JVB Document 3 Filed 10/20/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                         §
AMERICAN CITIZENS, SOUTHWEST                   §
VOTER REGISTRATION EDUCATION                   §
PROJECT, MI FAMILIA VOTA,                      §
AMERICAN GI FORUM, LA UNION                    §
DEL PUEBLO ENTERO, MEXICAN                     §
AMERICAN BAR ASSOCIATION OF                    §
TEXAS, TEXAS HISPANICS                         §
ORGANIZED FOR POLITICAL                        §
EDUCATION, WILLIAM C.                          §
VELASQUEZ INSTITUTE, FIEL                      §
HOUSTON, INC., TEXAS ·                         §
ASSOCIATION OF LATINO                          §
ADMINISTRATORS AND                             §
SUPERINTENDENTS, EMELDA                        §           EP-21-CV-00259-DCG
MENENDEZ, GILBERTO MENENDEZ,                   §
JOSE OLIVARES, FLORINDA                        §
CHAVEZ, and JOEY CARDENAS,                     §
                                               §
               Plaintiffs,                     §
v.                                             §
                                               §
GREG ABBOTT, in his official capacity          §
as Governor of the State of Texas, JOSE        §
A. ESPARZA, in his official capacity as        §
Deputy Secretary of the State of Texas,        §
                                               §
               Defendants.                     §
                                               §

                   ORDER CONSTITUTING THREE-JUDGE COURT

               This suit requests a three-judge panel. It challenges the constitutionality of the
        apportionment of congressional districts by the Texas Legislature and the
        apportionment of the Texas State House and Texas Senate, which are statewide legislative
        bodies. United States District Judge David C. Guaderrama has notified the chief judge ·of
        the circuit, pursuant to 28 U.S.C. § 2284(b), of the request that a three-judge court
        be convened. I hereby designate a circuit judge and a district judge to serve with
        Judge Guaderrama. This designation is without prejudice to any issue that may be
        considered concerning jurisdiction over the claims pertaining to the State Board of
        Education. The members of the three-judge court convened under 28 U.S.C. § 2284 are:
Case 3:21-cv-00259-DCG-JES-JVB Document 3 Filed 10/20/21 Page 2 of 2
   Judge Jerry E. Smith
   Circuit Judge
   United States Court of Appeals for the Fifth Circuit

  Judge David C. Guaderrama
  United States District Judge
  Western District of Texas

  Judge Jeffrey V. Brown
  United States District Judge
  Southern District of Texas




  October 20, 2021




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                                             PRISCILLA R. OWEN, CHIEF JUDGE
                                             UNITED STATES COURT OF APPEALS
                                             FOR THE FIFTH CIRCUIT




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